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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


UNITED STATES OF AMERICA                      §
                                              §
V.                                            §             NO. 1:15-CR-114-2
                                              §
MARY COLLIER                                  §


                      REPORT AND RECOMMENDATION ON
                THE DEFENDANT’S COMPETENCY TO STAND TRIAL

       Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court

for the Eastern District of Texas, this criminal proceeding is before the undersigned United

States magistrate judge.

       On September 17, 2015, the court ordered a psychiatric or psychological exam to

determine if the Defendant was suffering from a mental disease or defect rendering her mentally

incompetent to the extent she is unable to understand the nature and consequences of the

proceedings against her or to assist properly in her defense. (Doc. No. 22.) The Defendant was

subsequently evaluated by Tiffany K. Brown, Psy.D., Licensed Forensic Psychologist at the

Metropolitan Detention Center in Los Angeles, California.

       The psychiatric report concludes that “although there is evidence to indicate Ms. Collier

met criteria for the diagnosis of a personality disorder and posttraumatic stress disorder, the

signs or symptoms do not impair her present ability to understand the nature and consequences

of the court proceedings against her, or her ability to properly assist counsel in her defense.”

(Doc. No. 38, p. 27.) Dr. Brown concluded that Collier is competent to proceed to trial.

       A competency hearing was conducted on February 3, 2016.              At the hearing, the

Defendant appeared in court with her counsel, John McElroy. Mr. McElroy did not present any
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objections to Dr. Brown’s opinions on her competency.             Neither party objected to the

admissibility of the psychological report detailing the results and findings, therefore, the court

admitted it into evidence under seal.

       The undersigned concludes that the Defendant is able to understand the nature and

consequences of the proceedings against her and to assist properly in her defense.             The

Defendant has a rational and factual understanding of the proceeding against her, and has

sufficient present ability to consult with her attorney with a reasonable degree of rational

understanding. 18 U.S.C. § 4241(d); see also Dusky v. United States, 362 U.S. 402 (1960)

                                    RECOMMENDATION

       The court should find the Defendant competent to stand trial because she understands the

nature and consequences of the proceeding against her and is able to assist in her defense. See

18 U.S.C. § 4241. It is further recommended that the speedy trial time be excluded from

September 14, 2015 (the date the Defendant filed an Unopposed Motion for Psychiatric Exam),

until the date on which the District Judge signs the order adopting this report and

recommendation.

                                           OBJECTIONS

       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

objections to this report and recommendation. Objections to this report must: (1) be in writing,

(2) specifically identify those findings or recommendations to which the party objects, and (3) be

served and filed within fourteen (14) days after being served with a copy of this report. See 28

U.S.C. § 636(b)(1)(c); FED R. CIV. P. 72(b)(2). A party who objects to this report is entitled to a

de novo determination by the United States District Judge of those proposed findings and



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recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1); FED

R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a

copy of this report, bars that party from: (1) entitlement to de novo review by the United States

District Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d

275, 276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any

such findings of fact and conclusions of law accepted by the United States District Judge, see

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).



      SIGNED this 5th day of February, 2016.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge




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